      Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 1 of 11

                                    CONFIDENTIAL

                                                                   Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
 2                          SAN ANTONIO DIVISION
 3
        MICHAEL J. DANIELS, et al.,
 4
                      Plaintiffs,
 5
        vs                                No. SA-19-CA-01280-FB
 6
        AETC II PRIVATIZED HOUSING,
 7      LLC, et al.,
 8                Defendants.
 9                           CONFIDENTIAL
10                   DEPOSITION OF KASSANDRA WOLF
                              DAY 1 OF 2
11               Taken on Behalf of the Defendants
             On August 23, 2021, beginning at 8:58 a.m.
12                       In Tulsa, Oklahoma
13
14                          APPEARANCES
15      Appearing on behalf of the PLAINTIFFS:
16            Jennifer Arlene Neal
              WATTS GUERRA, LLP
17            Four Dominion Drive, Building 3, Suite 100
              San Antonio, Texas 78257
18            210-477-0500
              jneal@wattsguerra.com
19
20      Appearing on behalf of the DEFENDANTS:
21            Jennifer J. Skipper
              BALCH & BINGHAM, LLP
22            188 East Capitol Street, Suite 1400
              Jackson, Mississippi 39201
23            601-961-9900
              jskipper@balch.com
24
        Job No. CS4750236                                          EXHIBIT
25      REPORTED BY: MARY K. BECKHAM, CSR, RPR                          1
                                 Veritext Legal Solutions
     800-567-8658                                                    973-410-4098
 Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 2 of 11

                                              CONFIDENTIAL
                                                  Page 54                                                     Page 56
 1   lawyer.                                                 1   interactions with either Skillingstad or Castillo
 2       Q Were you still on Randolph when you had           2   family?
 3   the discussions about legal things and the lawyer       3      A Not that I know of, not that I can
 4   with the Hiatts?                                        4   remember.
 5       A Yes.                                              5      Q Furman? He's a marine major, Furman?
 6       Q Megan and Lance Konzen?                           6      A No, ma'am. Sorry, I shook my head. No,
 7       A I know them. I did not direct them.               7   ma'am.
 8       Q How do you know them?                             8      Q I might have one more for you in a minute,
 9       A Through Facebook.                                 9   but that's all that's coming to my head. When you
10       Q Shane and Becky Vinales?                         10   provide the information about your attorneys to
11       A I know them. I did not direct them.              11   people who contact you, is that via social media
12       Q Did they have a lawyer prior to you?             12   means or text message or in person?
13       A I believe they were looking into speaking        13      A I'm not sure. I'm not sure how I shared
14   with Ryan as well. I don't know how.                   14   the info with them.
15       Q And then we have Thompson, Amanda Thompson       15      Q I've got one of the families, I just
16   is the service member?                                 16   realized, Carmen and Mary Elizabeth Pisano?
17       A I don't know that name off the top of my         17      A I don't know them. I know their name.
18   head.                                                  18      Q And you know the Hamiltons?
19       Q Michael and Elldwinia English?                   19      A Yes.
20       A I don't know that name off the top of my         20      Q And did you have a lawyer before
21   head.                                                  21   Ms. Hamilton, or did she have a lawyer before you?
22       Q Kari Hill?                                       22      A I'm not sure.
23       A I do know the name, and I've seen her a          23      Q Do you remember if you provided any
24   few times.                                             24   information to Ms. Hamilton or vice versa?
25       Q Did you have any discussions with her            25      A I'm not sure.
                                                  Page 55                                                     Page 57
 1   about your attorneys or a lawsuit?                      1      Q It appears that you and Ms. Hamilton were
 2      A Yes.                                               2   pretty close?
 3      Q And when was that?                                 3      A Yes.
 4      A I don't remember exact dates.                      4      Q Okay. Had you been close with
 5      Q Did you provide her with your attorneys'           5   Ms. Hamilton since she moved on Randolph, or when
 6   information?                                            6   did your friendship develop?
 7      A I did.                                             7      A I don't remember when our friendship
 8      Q And do you remember where you all were             8   developed.
 9   when you provided -- or if it was online or             9      Q Are any of your children friends with each
10   whatever, with the attorneys' information?             10   other?
11      A I'm not sure.                                     11      A Whose children?
12      Q Before you provided the attorney                  12      Q Y'all's, Ms. Hamilton and yours.
13   information, had you had -- were you friends with      13      A We have played -- well, I had not played.
14   Ms. Hill?                                              14   My son had played with her son. My son, Matthew,
15      A No.                                               15   had played with her son once or twice. They didn't
16      Q How would the two of y'all's paths cross?         16   really become friends, I guess, didn't really have a
17      A I heard her speak at one of the housing           17   chance.
18   events, one of the town halls, I believe, and ran      18      Q Would you say that your friendship
19   out -- or ran into her out in public. I can't          19   developed through, like, housing?
20   remember where.                                        20      A I'm not sure when our friendship started.
21      Q Skillingstad?                                     21   We had talked prior off and on, so I'm not sure at
22      A I don't know them. I've heard the name.           22   what point we would consider ourselves friends.
23      Q Castillo?                                         23      Q Okay. Prior to moving to Randolph, and I
24      A I don't know them.                                24   am talking about the specific unit on Randolph, had
25      Q Never had any conversations or                    25   you ever had or experienced any mold in any prior

                                                                                               15 (Pages 54 - 57)
                                           Veritext Legal Solutions
800-567-8658                                                                                        973-410-4098
 Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 3 of 11

                                               CONFIDENTIAL
                                                  Page 58                                                      Page 60
 1   residences?                                             1   sheets, and some of the furniture was just too big
 2      A Not that I'm aware of. I know we had some          2   to go in Randolph. It was a lot smaller than our
 3   type of damage in our Schertz home, but I'm not sure    3   home.
 4   what the outcome, like what that was claimed the        4       Q Did you ever take any photos of what you
 5   damage was.                                             5   believed to be mold in your Schertz -- was it an
 6      Q Tell me what the damage was in the Schertz         6   apartment or home?
 7   home.                                                   7       A It was a home.
 8      A It just looked like the wall was messed            8       Q Schertz home?
 9   up, and I made the landlord deal with it. I said I      9       A I don't remember. I believe I did and
10   thought that it was mold, and I never got              10   sent it to the landlord. I don't know that I have
11   confirmation.                                          11   that now.
12      Q And what is it that was -- I'm just               12       Q Have you, since this lawsuit began, looked
13   looking for a little more description of when you      13   to see if you have those photos?
14   say the wall was messed up and he dealt with it?       14       A Those specific photos?
15      A He had a bunch of contractors come in and         15       Q Yes.
16   take the wall out, and we weren't in the home. We      16       A From living in Schertz?
17   were in a hotel, so I'm not sure what they called      17       Q Yes, ma'am.
18   the damages.                                           18       A No.
19      Q And how long were you all out of the home         19       Q We would ask that you do that, and I would
20   and at a hotel?                                        20   make a request that those be provided to us if they
21      A I'm not sure exact time frames on that.           21   exist.
22      Q Okay. Was it less than a week, more than          22       A Okay.
23   a week?                                                23          MS. NEAL: I don't know that that actually
24      A I don't really remember.                          24   fits within any of your RFP, so if you want to
25      Q And when you all were in a hotel, did they        25   supplement your request, that's fine.
                                                  Page 59                                                      Page 61
 1   provide any kind of compensation for meals or           1          MS. SKIPPER: Okay. Okay. Understood. I
 2   anything like that?                                     2   think there is one, but I will take that comment.
 3       A Yes.                                              3      Q (By Ms. Skipper) Any other prior
 4       Q How much was that?                                4   residence prior to living on base at Randolph that
 5       A I don't remember.                                 5   you believe there was mold in any of the residences?
 6       Q Any testing in your Schertz home?                 6      A I know we had a major water leak at
 7       A I'm not sure.                                     7   Tinker, and under the carpet was dirty. I don't
 8       Q Are you aware of any?                             8   know what that was.
 9       A Not that I am aware of.                           9      Q Okay. And what kind of water leak was it?
10       Q Did y'all move back in?                          10      A I believe it was from the air
11       A I don't remember the time frame of when we       11   conditioning.
12   were out before living on Randolph, so I don't         12      Q And how much of the carpet -- you said the
13   remember if we transitioned directly from the house    13   carpet was dirty?
14   off base to the Randolph home or what the gap was.     14      A Under the carpet.
15       Q Did you take all of your possessions that        15      Q Okay. Tell me what that means.
16   were in the Schertz home to the Randolph home?         16      A Where the leak was, they had lifted the
17       A Not all. We threw some away when we move         17   carpet, and it was dirty and wet, and I don't know
18   and downsize.                                          18   what it was.
19       Q Do you remember what you threw away?             19      Q Did you ever write or complain to housing
20       A Some furniture, some bedding or clothing,        20   during your time at Tinker?
21   like old sheets and things.                            21      A I don't remember if I did.
22       Q And the reason you all threw them away           22      Q Did housing replace the carpet?
23   is --                                                  23      A They did not.
24       A My children have sensory issues, and we          24      Q What did they do about the wet or dirty
25   switched their sheets so they could have softer        25   carpet?

                                                                                                16 (Pages 58 - 61)
                                           Veritext Legal Solutions
800-567-8658                                                                                         973-410-4098
 Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 4 of 11

                                               CONFIDENTIAL
                                                 Page 254                                                   Page 256
 1      Q Okay.                                              1   have any health problems that you relate to your
 2      A I don't believe there were outside people.         2   home at Tinker?
 3   None that I can remember right now.                     3       A I'm not entirely sure of what I would say
 4      Q Okay. Before you moved into Randolph, had          4   relates to Tinker specifically. I did have some
 5   you seen any advertising for Randolph Family            5   health things. I don't know that any of those are
 6   Housing?                                                6   pinpointed on Tinker.
 7      A No.                                                7       Q How did you make the decision to link
 8      Q When you moved into the unit, did you              8   something with regard to the house at Randolph to
 9   believe that it could be lived in? Did you have any     9   any health issues versus not linking any health
10   health or safety concerns when you first moved in?     10   issues to Tinker?
11      A I believe it could be lived in. I have            11          MS. NEAL: Objection to form.
12   opinions on it, but I feel based on what we walked     12       A Given what we knew by the testing that we
13   into that it could be livable, yes.                    13   had done in the Randolph home and one of my son's
14      Q You wouldn't have moved your family into          14   allergens clearly popping up on the test that was
15   something -- your children into something you didn't   15   done, that's why I relate that issue to Randolph.
16   believe could be lived in, that was a health and       16       Q (By Ms. Skipper) Did your husband have
17   safety hazard, right?                                  17   any health issues that were related to the Tinker
18      A Not knowingly, no.                                18   home?
19      Q At any point did you believe that the             19       A Not that I'm aware of.
20   house became uninhabitable?                            20       Q Any of your other children other than
21      A Yes.                                              21   Gabriel?
22      Q When was that?                                    22       A Not that I'm aware of.
23      A When they pulled the mold out in front of         23       Q Did you talk with any doctor or medical
24   my face and told me it was dirt.                       24   professional about what you believed to have been
25      Q Did you ever have your Tinker Air Force           25   mold in your Tinker home?
                                                 Page 255                                                   Page 257
 1   Base home tested for mold?                              1      A I can't recall.
 2       A No. Not that I remember, sorry.                   2      Q Did you go to Command about anything with
 3       Q You have a Facebook post related to your          3   regard to the Tinker home?
 4   Tinker home that said that it had flooded multiple      4      A I can't recall if we did or not.
 5   times, and you related your child going to the          5      Q When the house flooded at Tinker those
 6   hospital --                                             6   multiple times, did they move you out, or did you
 7       A Yes.                                              7   stay?
 8       Q -- to the condition of the home at Tinker?        8      A They did not move us out. They dried the
 9       A Yes.                                              9   carpet with fans.
10       Q Which child was that?                            10          (Exhibit 192 marked for identification.)
11       A Gabriel.                                         11      Q (By Ms. Skipper) I'm going to show you
12       Q What health problem did you associate that       12   what we'll mark as the next exhibit as 192, and if
13   child having from the Tinker home?                     13   you'll just confirm that that is your post that you
14       A He had -- he had childhood asthma. I             14   made on Facebook with regard to your Tinker home.
15   don't know his current situation on it. He lives       15      A Now that I've read it, what was the
16   with his father, but at that time he had childhood     16   question again? I apologize.
17   asthma and environmental allergens. One of his top     17      Q This is the post and your commentary, and
18   allergies is Penicillium.                              18   the photo underneath it relates to the Tinker --
19       Q Okay. So you believe that there was              19      A Yes, ma'am.
20   Penicillium in the Tinker home?                        20      Q -- housing. In that first -- I'm sorry,
21       A I'm not entirely sure. I just know that          21   the second paragraph it says -- it relates to the
22   based on his breathing and that water damage, I        22   carpet, and it says, "Guess what that was, mold,
23   believe that what we had at that home could have       23   mold all under that carpet, the same mold that my
24   been mold. I don't know.                               24   son is highly allergic to, the same mold that sent
25       Q Do you have any health problems or did you       25   him in an ambulance without me, because I had the

                                                                                            65 (Pages 254 - 257)
                                           Veritext Legal Solutions
800-567-8658                                                                                        973-410-4098
 Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 5 of 11

                                                 CONFIDENTIAL
                                                    Page 258                                                    Page 260
 1   other kids with me at the same time and they               1          (A recess was had from 4:11 to 4:23.)
 2   wouldn't let me in." Was there testing in your             2       Q (By Ms. Skipper) I want to talk about --
 3   Tinker home?                                               3   I know we're going to switch gears a little bit just
 4      A This is written when I was highly                     4   so we can hopefully finish it and not leave a
 5   emotional, and I did not have testing. This is my          5   subject kind of in the middle before we break for
 6   gut feeling as an emotional mother trying to protect       6   the day. Your damages that you are being claimed --
 7   her child.                                                 7   that are being claimed in this lawsuit are medical,
 8      Q Okay. And this September 19th was eight               8   household goods, BAH, items that were purchased.
 9   years after the original event?                            9   Anything else?
10      A I'm not sure if it was eight years from              10       A The money back for the RECP program, the
11   the original event or eight years from the time I         11   utility money that we had spent to live there.
12   posted whatever this event was.                           12       Q Okay. Let's start there first. The
13      Q That's a good clarification. Thank you               13   utility money, do we have all of the bills related
14   for that.                                                 14   to any overages you had?
15      A So I would have to look at that original             15       A You should. I'm not sure how that works.
16   notification to tell you a yes or no on that.             16   Maybe somebody could reach out and get them. I
17      Q Okay. So you posted this September 19th,             17   don't have a copy of all the bills.
18   2020?                                                     18       Q Okay. What is it that you have -- do you
19      A Yes, I believe so. That should have been             19   have a number that you believe relates to the
20   a 2020.                                                   20   overages in utilities?
21      Q Okay. And you were emotional about what              21       A I don't have --
22   had happened at Tinker, because the post popped up        22          MS. NEAL: Objection, form.
23   in your memories?                                         23       A -- an exact number.
24      A Yes.                                                 24       Q (By Ms. Skipper) Do you have the history
25      Q And what hospital is it that Gabriel went            25   of your utility payments while at Randolph that we
                                                    Page 259                                                    Page 261
 1   to without you?                                            1   could look at and see?
 2      A I can't recall which one they took him to.            2      A I don't think that I personally have
 3      Q Okay.                                                 3   those, no. I think that that's something we would
 4      A It would be here in Oklahoma. I just                  4   have to reach out to Minol about.
 5   don't know which one.                                      5      Q Do you have any out-of-pocket medical
 6      Q Does Tinker have an ER hospital?                      6   expenses for yourself or any of your family members
 7      A They do not. They did have a clinic. It               7   related to this case?
 8   has since been torn down, so it would have been an         8      A Just any medicine that I either wasn't
 9   off-base provider for that one.                            9   able to get on base or just was too inconvenient to
10      Q And in your KENS 5 story, there's a                  10   drive on base. It couldn't have been more than a
11   picture of a little boy. It looks like it's in a          11   few dollars at most. So whatever the Tricare
12   hospital bed with some breathing apparatus. Who was       12   portion is above what we would have spent on base.
13   the little boy in the bed?                                13   nothing significant, I guess.
14      A I don't know which picture you are                   14      Q Do you have -- I know we talked about an
15   referring to, so I can't answer, since I have three       15   inventory of the things that you left behind. Have
16   sons.                                                     16   you placed a monetary value on each of those items?
17      Q Okay. It's the only one that appeared --             17      A At this time not on each of the items, no.
18   the only son that appeared in the KENS 5 story.           18      Q Do you have a total?
19      A I'm not sure which one they put in,                  19      A I do not have a complete total, no.
20   whether it was one or the other.                          20      Q What damages to household goods that
21      Q Okay. Well, we'll watch it --                        21   require further remediation or replacement, what is
22      A Okay.                                                22   that speaking to?
23      Q -- and I'll ask those questions again.               23      A I'm sorry, I didn't understand.
24           MS. NEAL: Do you want to take a break?            24      Q So I asked basically for an itemization of
25           MS. SKIPPER: Yeah, we can.                        25   damages and a dollar amount, and the response was

                                                                                                66 (Pages 258 - 261)
                                             Veritext Legal Solutions
800-567-8658                                                                                            973-410-4098
Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 6 of 11
      Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 7 of 11

                                    CONFIDENTIAL

                                                                Page 288

 1                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
 2                          SAN ANTONIO DIVISION
 3
          MICHAEL J. DANIELS, et al.,
 4
                       Plaintiffs,
 5
          vs                                    No. SA-19-CA-01280-FB
 6
          AETC II PRIVATIZED HOUSING,
 7        LLC, et al.,
 8                  Defendants.
 9                             CONFIDENTIAL
10                     DEPOSITION OF KASSANDRA WOLF
                                DAY 2 OF 2
11                 Taken on Behalf of the Defendants
               On August 25, 2021, beginning at 8:38 a.m.
12                         In Tulsa, Oklahoma
13
14                            APPEARANCES
15        Appearing on behalf of the PLAINTIFFS:
16              Jennifer Arlene Neal
                WATTS GUERRA, LLP
17              Four Dominion Drive, Building 3, Suite 100
                San Antonio, Texas 78257
18              210-477-0500
                jneal@wattsguerra.com
19
20        Appearing on behalf of the DEFENDANTS:
21              Jennifer J. Skipper
                BALCH & BINGHAM, LLP
22              188 East Capitol Street, Suite 1400
                Jackson, Mississippi 39201
23              601-961-9900
                jskipper@balch.com
24
          Job No. CS4750228
25        REPORTED BY: MARY K. BECKHAM, CSR, RPR

                                 Veritext Legal Solutions
     800-567-8658                                                    973-410-4098
 Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 8 of 11

                                                CONFIDENTIAL
                                                   Page 369                                                    Page 371
 1   from the doctor. You were provided a handout on           1   allergy, I'm not sure. It just -- he just felt like
 2   lower back pain, and you were to start doing daily        2   junk a lot in the house.
 3   rehabilitative exercises. Does this help refresh          3       Q Okay.
 4   your recollection of a diagnosis of lower back pain       4       A The only other thing for him would be just
 5   in 2010?                                                  5   the bug bites and things that he got there.
 6       A Not specifically. I see that it is. Just            6       Q I did go back and look at your statement
 7   not specifically, no.                                     7   from the town hall, and you said that CPS got
 8          (Exhibit 210 marked for identification.)           8   involved with the bug bites?
 9       Q (By Ms. Skipper) Okay. There were                   9       A I'm not sure if it was CPS. I know it was
10   references to you having foot pain for years, which      10   that advocacy or group or whatever we discussed
11   caused swelling and radiating pain from your right       11   yesterday, and I don't know the name of who that
12   hip, and you were diagnosed with sciatica in your        12   was, but it was child-type protection or, like, a
13   right lower extremity. Do you remember that?             13   family advocacy type group.
14       A I don't remember the exact diagnosis or            14       Q Okay.
15   when it happened. I remember talking about that          15       A I don't know their name.
16   with doctors, yes.                                       16       Q Okay. So, yes, because we have tried to
17       Q Okay. And do you still suffer from                 17   get the family advocacy records. They require a
18   sciatica pain?                                           18   specific authorization.
19       A Here and there, not as much anymore.               19          MS. SKIPPER: I'm going to hand you this,
20       Q I have some more questions. I'm trying to          20   Jenn, and you can obviously discuss with Ms. Wolf,
21   get all the medical done first. Have we talked           21   you know, the issues on signing it. But we have not
22   about all of the medical symptoms, claims that you       22   been able to get the family advocacy records that
23   are going to make that you believe are related to        23   relate to Gabe and the bug bites or anything else
24   living at Randolph?                                      24   that they may have been involved with your family,
25          MS. NEAL: Objection, form.                        25   without a specific authorization giving them to us.
                                                   Page 370                                                    Page 372
 1       A I'm not sure, but we've been over a lot             1           MS. NEAL: We'll look at it and let you
 2   that I feel is pretty sufficient. I don't think           2   know.
 3   there's anything above and beyond that.                   3          MS. SKIPPER: Thank you.
 4       Q (By Ms. Skipper) Okay. Let's talk about             4      Q (By Ms. Skipper) So I have his symptoms
 5   your children next. I have Gabriel Winchell. What,        5   of asthma were worse, you said medicine. Are you
 6   if anything, are you going to claim in terms of           6   saying he took more medicine?
 7   medical that relates -- that you believe relates to       7      A He wasn't taking as many of his allergy
 8   him living in the Randolph unit?                          8   medicines or anything when we were off base. He
 9           MS. NEAL: Objection, form.                        9   went back to taking, like, the daily OTC type stuff
10       A Is there a different way you can ask it?           10   when we got on base, just had that general ick.
11   It didn't really hit for me.                             11      Q Did you ever see a doctor or medical
12       Q (By Ms. Skipper) Okay. What is it that             12   professional that related anything about the home to
13   you believe Gabriel suffered from, had symptoms of,      13   any of the medical symptoms for Gabriel?
14   that you believe relates to exposure to mold or any      14          MS. NEAL: Objection, form.
15   of the issues you believe were in your Randolph          15      A Nothing that I can think of specifically.
16   house?                                                   16   I know it was an issue that was discussed with one
17           MS. NEAL: Objection, form.                       17   or more doctors.
18       A For him, I knew that he already had                18      Q (By Ms. Skipper) Okay. And how did you
19   asthma, like childhood asthma. I feel like his           19   come to believe that his increased asthma symptoms
20   symptoms were worse in the home. It's something we       20   related to the home?
21   discussed with doctors more than one time. He had        21      A Because he actually is allergic to
22   medicines that he would take. He had times of            22   Penicillium --
23   labored breathing. He had times of just constant,        23      Q Okay.
24   like, almost like a sinus infection, like a just         24      A -- based on what his father discussed with
25   runny nose and cough and sneezing, general or house      25   me.

                                                                                               22 (Pages 369 - 372)
                                            Veritext Legal Solutions
800-567-8658                                                                                          973-410-4098
 Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 9 of 11

                                                  CONFIDENTIAL
                                                    Page 373                                                      Page 375
 1       Q Okay. So do you -- so it wasn't testing              1      A Okay.
 2   with you that he has that allergy?                         2      Q Okay. We'll cross that bridge. Tell me
 3       A No, ma'am.                                           3   what it means when you say the symptoms -- his
 4       Q Do you have records?                                 4   asthma symptoms got worse.
 5       A I don't personally have records, no.                 5      A We had to do nebulizers more often at
 6       Q So there's -- where would I find those               6   home, so that he could clear his airway. He had to
 7   records?                                                   7   go into the hospital a couple of times to help get
 8       A I would love to tell you that answer. His            8   his breathing back to where it should be, get his
 9   father and I have a very jaded past, and he kept me        9   oxygen and things back. He just had that general --
10   out of the loop on pretty much everything he did          10   I know that that's not really helpful, but it was
11   when he had my child, so that would be something          11   just that general ick, that general, like, runny
12   that I couldn't personally answer. I don't know how       12   nose, coughing, sneezing, the post nasal kind of
13   to get the answer.                                        13   feeling, and so if he would express that to me, I
14       Q Does he know that his child is part of              14   would take him. It just depends on, you know, when
15   this lawsuit?                                             15   and what was going on. Just if he would bring it
16       A I don't know.                                       16   up, we would go.
17       Q Have you told him?                                  17      Q Does Gabe have asthma, exercise-induced
18       A I don't know that we specifically have had          18   asthma?
19   a conversation about this.                                19      A I think it was labeled childhood asthma in
20       Q Okay. Well, I mean, there is -- I'm just            20   the beginning. I don't know if or what that is
21   going to be very candid -- very little medical            21   labeled now.
22   information on certain ones of your children that         22      Q Okay. When was he first diagnosed with
23   you didn't always have custody of, so how am I going      23   asthma?
24   to figure out where they had medical -- that was          24      A I don't know if that was with me or with
25   obviously one of the things we asked for on Exhibit       25   his father, so I don't know the answer to that.
                                                    Page 374                                                      Page 376
 1   A to the deposition. How am I going to figure out          1      Q What is the first known diagnosis of
 2   where they went to the doctor when they weren't in         2   asthma in Gabe that you were aware of?
 3   your care, if you don't have those records?                3      A When we were at Keesler Air Force Base. I
 4       A I don't know how to obtain that                      4   know that we went in a couple of times when we were
 5   information. I asked several times to get that type        5   there, so there should be something, at least at
 6   of information, even during my custody case, and he        6   that point.
 7   never presented anything for me. So I don't know           7      Q And for his asthma presentation, is it
 8   how to do that.                                            8   breathing, wheezing, coughing, does he turn blue?
 9       Q Can I contact your ex-husband?                       9   What does an asthma attack look like for him?
10       A I'm not so much worried about contact for           10      A I don't remember him ever turning blue. I
11   getting information for this. It's what that              11   know he had extremely labored breathing a couple of
12   contact will start for me, given that relationship,       12   times and that -- like the chest sink.
13   so -- can we maybe get an answer to you on that at        13      Q Concave chest?
14   another time?                                             14      A Yeah, yes. Just like the gasping, that
15       Q Yeah, I mean, that's fine.                          15   (noise) trying to catch his breath, and then just
16       A That has serious triggers for me, so if             16   the (noise) wheeze feel, the wheeze sound, yeah.
17   there's a way I can do that that's less brash and in      17      Q Prior to moving to Randolph, was he on any
18   his face, maybe he'll be calmer. I don't really           18   kind of asthma regimen?
19   know.                                                     19      A He was off and on throughout his life,
20       Q Well, yes, I am at the point that I do              20   depending on which parent he lived with or which
21   need that information, because that is -- that was        21   doctor we were seeing. There were times that they
22   going to be one of my questions, because you've           22   had him on, like, Singulair and Zyrtec and Flonase
23   given several interviews and spoke at town halls          23   and things like that. It just varied when and how
24   about the severe allergy for him, and I have no           24   much and where we were.
25   record of it.                                             25      Q When y'all were living in Schertz, do you

                                                                                                 23 (Pages 373 - 376)
                                              Veritext Legal Solutions
800-567-8658                                                                                             973-410-4098
Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 10 of 11

                                                  CONFIDENTIAL
                                                    Page 385                                                      Page 387
 1   best not to have pets --                             1            Q So from the allergy screening, his most
 2       A Not specifically.                              2         significant allergy is to cats --
 3       Q -- around Gabe? At this time in 2009 he        3            A Okay.
 4   was given an allergy test. Was this with you, or     4            Q -- is that correct?
 5   was this with his father?                            5            A Yes.
 6       A I don't remember.                              6            Q Did you know that?
 7       Q Okay. Well, I'll tell you, it's the 81st       7            A No.
 8   Medical Group, which is at Keesler, so I'm assuming 8             Q For the time that he lived at Randolph, he
 9   this was you. Did your father -- or his father ever  9         had a tabby cat in the house named Dupey?
10   come down to Keesler?                               10            A Dupey.
11       A No.                                           11            Q Dupey. Is that correct?
12       Q Okay. I'm going to show you his allergy       12            A Yes.
13   testing.                                            13            Q He also had a high level reaction to dog
14          MS. SKIPPER: We'll mark the June 2009        14         dander, and he also had a dog in the house when he
15   record as 211, and we'll mark the actual allergy    15         lived at Randolph, correct?
16   testing as 212.                                     16            A Correct.
17          (Exhibit 211 and 212 marked for              17            Q There was a reference during the time
18   identification.)                                    18         period when housing was trying to get into the home
19       Q (By Ms. Skipper) Just like we did with        19         to do the remediation that there were three dogs in
20   yours, we'll just go through it. So you'll see the  20         the house. Were there three dogs in the home?
21   first one is Alternaria Alternata, which is a mold, 21            A For a short time, yes.
22   and it registered as a .36, which is, as you can    22            Q And when was that?
23   tell by the interpretation below, one above absent, 23            A I can't remember exact dates. I know we
24   which means it's a low level. Then we have          24         were puppy sitting.
25   Aspergillus Fumigatus, which is -- which registered 25            Q What kind of dogs were those?
                                                    Page 386                                                      Page 388
 1   as a .44, which is a low level. Then we have Gray          1       A I don't know their type. They were
 2   Alder being negative; Ash White being negative;            2   medium-sized dogs.
 3   Boxelder tree, negative; Burch, negative;                  3       Q Who were you puppy sitting for?
 4   Cladosporium Herbarum, .57, low level; cat dander is       4       A A defense contractor, I think, was his
 5   greater than a 100, which is a very high level;            5   job.
 6   Cockroaches, negative; cottonwood, negative;               6       Q What's his name?
 7   Curvularia Lunata, negative; cypress Italian,              7       A David.
 8   negative. The next two are dust mites, negative;           8       Q Last name?
 9   Dog Dander, 6.60, which is a high level; elder             9       A May I look at my phone to tell you?
10   Marsh, negative; Elm, negative; Firebush, negative.       10       Q We can at a break.
11   Bahia Grass is .76, which is a moderate level;            11       A Okay. I'll get back to you with the name
12   Bermuda Grass is 1.48, which is also a moderate           12   then.
13   level; Johnson Grass, .41 is a low level; Rye Grass       13       Q Okay. So do you have any estimate if that
14   was negative; Hackberry tree was negative; Hickory        14   was a day, a week, two months that you had these
15   was negative; Juniper Mountain was negative; Lambs        15   three dogs in the house?
16   Quarter, negative; Mesquite Tree, negative; Mugwort       16       A A couple of weeks, I believe. Maybe a
17   was negative; Mulberry was negative; Nettle was           17   couple of months. I don't -- I don't remember the
18   negative; Oak was negative; Olive Tree was negative.      18   time frame while at Randolph, how long we had them.
19   Penicillium Chrysogenum was negative; Pine White,         19       Q Did you know he had an allergy to certain
20   negative; Plantains, negative; Ragweed, negative;         20   grasses?
21   Sheep Sorrel, negative; Sycamore Maple, negative;         21       A Not specifically, no.
22   Russian Thistle, negative; Timothy Grass, negative;       22       Q Did you have any kind of allergy protocol
23   Walnut Tree, negative; Cocklebur, negative. Did I         23   you used inside your home?
24   read all those correctly?                                 24       A We just vacuumed constantly, changed
25      A I believe so.                                        25   filters, kept animals out of bedrooms, kept animals

                                                                                                 26 (Pages 385 - 388)
                                              Veritext Legal Solutions
800-567-8658                                                                                             973-410-4098
Case 5:19-cv-01280-FB-RBF Document 233-1 Filed 05/31/22 Page 11 of 11

                                                    CONFIDENTIAL
                                                         Page 509                                                   Page 511
 1                  JURAT                                           1            ERRATA SHEET
 2 MICHAEL J. DANIELS VS AETC II PRIVATIZED HOUSING
                                                                    2   MICHAEL J. DANIELS VS AETC II PRIVATIZED HOUSING
 3                DAY 2 OF 2
 4              JOB FILE NO. 152322                                 3        DEPOSITION OF KASSANDRA WOLF
 5                                                                  4             DAY 2 OF 2
 6          I, KASSANDRA WOLF, do hereby state under                5      REPORTED BY: MARY K. BECKHAM, CSR RPR
 7 oath that I have read the above and foregoing
                                                                    6      DATE DEPOSITION TAKEN: AUGUST 25, 2021
 8 deposition in its entirety and that the same is a
    full, true and correct transcription of my testimony            7          JOB FILE NO. 152322
 9 so given at said time and place, except for the                  8 PAGE LINE IS             SHOULD BE
    corrections noted.                                              9 ____ ____ ____________________ ___________________
10
                                                                    10 ____ ____ ____________________ ___________________
11          _________________________________
            Signature of Witness                                    11 ____ ____ ____________________ ___________________
12                                                                  12 ____ ____ ____________________ ___________________
13                                                                  13 ____ ____ ____________________ ___________________
14          Subscribed and sworn to before me, the                  14 ____ ____ ____________________ ___________________
    undersigned Notary Public in and for the State of
                                                                    15 ____ ____ ____________________ ___________________
15 Oklahoma by said witness, KASSANDRA WOLF, on this
    ________day of__________________, 2021.                         16 ____ ____ ____________________ ___________________
16                                                                  17 ____ ____ ____________________ ___________________
17                                                                  18 ____ ____ ____________________ ___________________
18
                                                                    19 ____ ____ ____________________ ___________________
19          _________________________________
            NOTARY PUBLIC                                           20 ____ ____ ____________________ ___________________
20          MY COMMISSION EXPIRES:___________                       21 ____ ____ ____________________ ___________________
21                                                                  22 ____ ____ ____________________ ___________________
22
                                                                    23 ____ ____ ____________________ ___________________
23
24                                                                  24 ____ ____ ____________________ ___________________
25 Job No. CS4750228                                                25 ____ ____ ____________________ ___________________

                                                        Page 510                                                   Page 512
 1             ERRATA SHEET                              1              CERTIFICATE
 2    MICHAEL J. DANIELS VS AETC II PRIVATIZED HOUSING 2
                                                         3        I, Mary K. Beckham, Certified Shorthand
 3         DEPOSITION OF KASSANDRA WOLF
                                                         4 Reporter, do hereby certify that the above-named KASSANDRA
 4              DAY 1 OF 2                                 WOLF was by me first duly sworn to testify the truth, the
 5       REPORTED BY: MARY K. BECKHAM, CSR RPR           5 whole truth, and nothing but the truth, in the case
 6       DATE DEPOSITION TAKEN: AUGUST 24, 2021          6 aforesaid; that the above and foregoing deposition
 7           JOB FILE NO. 152332                         7 was by me taken in shorthand and thereafter
 8   PAGE LINE IS           SHOULD BE                      transcribed; that the same was taken, pursuant to
                                                         8 stipulations hereinbefore set out; and that I am not
 9   ____ ____ ____________________ ___________________
                                                           an attorney for nor relative of any of said parties
10   ____ ____ ____________________ ___________________
                                                         9 or otherwise interested in the event of said action.
11   ____ ____ ____________________ ___________________ 10
12   ____ ____ ____________________ ___________________ 11        IN WITNESS WHEREOF, I have hereunto set my
13   ____ ____ ____________________ ___________________    hand and official seal this 31st day of August,
14   ____ ____ ____________________ ___________________ 12 2021.
                                                        13
15   ____ ____ ____________________ ___________________
                                                        14
16   ____ ____ ____________________ ___________________
                                                        15
17   ____ ____ ____________________ ___________________ 16
18   ____ ____ ____________________ ___________________ 17
19   ____ ____ ____________________ ___________________ 18
20   ____ ____ ____________________ ___________________ 19              <%824,Signature%>
21   ____ ____ ____________________ ___________________ 20              Mary K. Beckham, CSR, RPR
                                                        21              CSR No. 01053
22   ____ ____ ____________________ ___________________
                                                        22
23   ____ ____ ____________________ ___________________ 23
24   ____ ____ ____________________ ___________________ 24
25   ____ ____ ____________________ ___________________ 25

                                                                                                     57 (Pages 509 - 512)
                                                Veritext Legal Solutions
800-567-8658                                                                                                973-410-4098
